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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11     ARMAN J. DURANT,                    )   Case No. 2:17-cv-06803-VBF-JC
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12                                         )
                           Petitioner,     )
13                                         )   ORDER ACCEPTING FINDINGS,
                     v.                    )   CONCLUSIONS, AND
14                                         )   RECOMMENDATIONS OF
                                           )   UNITED STATES MAGISTRATE
15     W.L. MONTGOMERY,                    )   JUDGE
                                           )
16                                         )
                          Respondent.      )
17 ________________________________
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         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition for Writ of
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   Habeas Corpus by a Person in State Custody (“Petition”) and all of the records
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   herein, including the July 7, 2020 Report and Recommendation of United States
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   Magistrate Judge (“Report and Recommendation”), and petitioner's objections to
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   the Report and Recommendation ("Objections"). The Court has further made a de
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   novo determination of those portions of the Report and Recommendation to which
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   objection is made. The Court concurs with and accepts the findings, conclusions,
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   and recommendations of the United States Magistrate Judge and overrules the
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   Objections.
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 1          IT IS HEREBY ORDERED that the Petition is denied, that this action is
 2 dismissed with prejudice and that Judgment be entered accordingly.
 3          IT IS FURTHER ORDERED that the Clerk serve copies of this Order and
 4 the Judgment herein on petitioner and on respondent’s counsel.
 5          IT IS SO ORDERED.
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 7 DATED: September 18, 2020
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 9                                  ________________________________________
10                                  HONORABLE VALERIE BAKER FAIRBANK
                                    SENIOR UNITED STATES DISTRICT JUDGE
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